
SCHOTT, Judge,
concurring:
In reasons for judgment the trial court found that plaintiff failed to prove the existence of a partnership between Louis G. Dutel, Jr. and William J. Dutel when the notes were executed and that plaintiff had no reason to believe that such a partnership existed at that time. From this the court concluded that plaintiff had no right of action against Louis G. Dutel, Jr.
The exception of no right of action cannot be invoked to determine whether a particular defendant can stand in judgment in a particular case, i.e., whether the right or remedy can be exercised against that defendant. Babineaux v. Pernie-Bailey Drilling Co., 261 La. 1080, 262 So.2d 328 (1972).
